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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

Ronaldo Ligons, et al.,                                Civil File No. 15-CV-2210 (PJS/BRT)

       Plaintiffs,                                      MEMORANDUM OF LAW IN
                                                         SUPPORT OF DEFENDANTS
vs.                                                   MINNESOTA DEPARTMENT OF
                                                   CORRECTIONS, THOMAS ROY, DR.
Minnesota Department of Corrections, et al.,          DAVID A. PAULSON, M.D., AND
                                                   NANETTE LARSON’S MOTION FOR
       Defendants.                                          SUMMARY JUDGMENT


                                   INTRODUCTION

       When this lawsuit was commenced in May 2015, Plaintiffs Ronaldo Ligons and

Barry Michaelson (collectively “Plaintiffs”) were both inmates in the custody of

Defendant Minnesota Department of Corrections (DOC). Plaintiffs assert that the DOC’s

alleged failure to treat their Hepatitis C with newly-developed drugs violates their Eighth

Amendment rights and other federal statutes. While no class has been certified, Plaintiffs

seek, among other things, injunctive relief on behalf of themselves and others they allege

are similarly situated, despite the fact that both Plaintiffs’ injunctive relief claims are

moot and otherwise barred by the law. Because Plaintiffs’ claims are without support in

the record and otherwise fail as a matter of law, the DOC, its Commissioner, Dr. David

Paulson, and Nanette Larson respectfully request that the Court grant their motion for

summary judgment and dismissal the Second Amended Complaint in its entirety, and

with prejudice.
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                   DOCUMENTS COMPRISING THE RECORD

      1.     Second Amended Complaint (Doc. No. 42)

      2.     Defendants’ Answer to the Second Amended Complaint (Doc. No. 45)

      3.     Affidavit of David A. Paulson, M.D., M.B.A. and exhibits

      4.     Affidavit of Nanette Larson and exhibits

      5.     Affidavit of Rick Pung and exhibits

      6.     Affidavit of Kathryn A. Fodness and exhibits

                     STATEMENT OF UNDISPUTED FACTS

      A.     The Parties.

      Ligons is currently incarcerated in the Minnesota Correctional Facility in Faribault

(MCF-FRB). (Sec. Am. Compl. (“SAC”) ¶ 3.)

      Michaelson was incarcerated in the Minnesota Correctional Facility at Stillwater

(MCF-STW) when this case was filed. (Id. ¶ 8.) Michaelson was released from prison

on March 27, 2017, and is living in the community on supervised release. (Affidavit of

Rick Pung (“Pung Aff.”) ¶ 16.)

      Defendant DOC is an agency of the State of Minnesota, which is headed by a

Commissioner of Corrections. Minn. Stat. §§ 15.01, 241.01. The DOC operates 10 adult

prisons, including facilities in Faribault, Oak Park Heights, Rush City, St. Cloud,

Shakopee, and Stillwater. (Pung Aff. ¶ 18.)

      Defendant Tom Roy is the Commissioner of the DOC and is sued in his official

capacity only. (SAC ¶ 31.)



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       Dr. Paulson is a medical doctor, and the DOC’s Medical Director. (Affidavit of

David A. Paulson, M.D., M.B.A. (“Paulson Aff.”) ¶¶ 1, 2; Deposition of David A.

Paulson (“Paulson Dep.”), attached to the Affidavit of Kathryn A. Fodness (“Fodness

Aff.”) as Ex. A at 7.) Except under unusual circumstances, Dr. Paulson does not see

inmates for primary care. (Id. ¶ 8.) Dr. Paulson is sued in his individual and official

capacities. (SAC ¶ 34.)

       Defendant Nanette Larson is the DOC’s Health Services Director. (Affidavit of

Nanette Larson (“Larson Aff.”) ¶ 1; Deposition of Nanette Larson (“Larson Dep.”),

attached to the Fodness Aff. as Ex. B at 9.) Larson is an administrator, and is not a

medical practitioner. (Id.; Larson Aff. ¶ 2.) Her role is akin to a hospital administrator.

(Larson Aff. ¶ 3.) Larson is sued in her individual and official capacities. (SAC ¶ 38.)

       B.     Medical Care At The Minnesota Department of Corrections.

       The DOC contracts with Centurion Managed Care to provide medical services and

day-to-day care to inmates. (Larson Aff. ¶ 5.) Centurion medical practitioners, including

medical doctors, physician assistants, and nurse practitioners, provide health care at each

DOC facility with the assistance of DOC-employed registered nurses and licensed

practical nurses. (Id. ¶ 6.)1 Before contracting with Centurion, the DOC contracted with


1
   Plaintiffs brought claims under Section 1983 against two Centurion medical
practitioners – Dr. Rolf Hanson and Dr. Darryl Quiram, SAC ¶¶ 113-20, and against
Centurion for violation of the Rehabilitation Act, id. ¶¶ 153-63. Plaintiffs stipulated to
the dismissal of claims against Dr. Hanson on February 19, 2016, Doc. No. 49, and the
Court dismissed him from the action on February 23, 2016, Doc. No. 78. Plaintiffs
stipulated to the dismissal of claims against Dr. Darryl Quiram on October 28, 2016, Doc.
No. 78, and the Court dismissed him from the action on October 31, 2016, Doc. No. 80.
(Footnote Continued on Next Page)
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other correctional medical services vendors including Corizon Correctional Healthcare

(formerly, CMS). (Id. ¶ 5.)

       C.     Hepatitis C.

       HCV is a blood-borne pathogen that affects the liver.         (Paulson Aff. ¶ 9.)

HCV infection is slowly progressing and most patients do not report subjective

symptoms. (Paulson Aff. ¶ 15; Expert Report of Newton E. Kendig, MD (“Kendig

Rep.”), attached to the Fodness Aff. as Ex. C at 7.) The modes of HCV transmission are

clear and well understood. (Paulson Aff. ¶ 14.) HCV is primarily spread through

percutaneous exposures.       (Kendig Rep. at 5, 6; Deposition of Dr. Newton Kendig

(“Kendig Dep.”), attached to the Fodness Aff. as Ex. D at 56-59; Paulson Aff. ¶ 10.)

Until the late 1980s and early 1990s, when testing became available, individuals were

also at an increased risk of contracting HCV through receipt of clotting factors or from

solid organ transplants. (Id..)

       The risk of HCV transmission through sexual contact or in the household setting is

considered extremely low. (Id.; see also Kendig Rep. at 5, 6; Kendig Dep. at 56-59, 75-

76; Deposition of Dr. Julie Thompson (“Thompson Dep.”), attached to the Fodness Aff.

as Ex. E at 105-106; Deposition of Dr. Bennet D. Cecil III (“Cecil Dep.”), attached to the

Fodness Aff. as Ex. F at 40-41.) Likewise, transmission among individuals sharing




_________________________________
(Footnote Continued from Previous Page)
Plaintiffs stipulated to the dismissal of claims against Centurion on November 16, 2016
and the Court dismissed Centurion on that date. (Doc. Nos. 90, 91.)

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personal care items, such as razors or toothbrushes, is extremely rare. (Paulson Aff. ¶ 10;

Paulson Dep. at 78-81; Kendig Rep. at 6.)

       Illicit injection drug use and tattooing are prohibited by the DOC. (Paulson Aff.

¶ 11; Pung Aff. ¶ 21.) In his 22 years as Medical Director, Dr. Paulson has never heard

of HCV transmission between inmates or between inmates and DOC staff. (Paulson Aff.

¶ 10; see also Paulson Dep. at 78-81.)

       Not everyone infected with HCV will develop a chronic HCV infection. (Paulson

Aff. ¶ 13; Kendig Rep. at 7.) Approximately 25-30% of individuals infected with HCV

clear the infection from their system without any treatment.        (Paulson Aff. ¶ 13.)

The remaining individuals develop a chronic HCV infection. (Id.)2 A subset of those

individuals who develop chronic HCV infection develop liver disease or other medical

conditions attributable to HCV. (Kendig Rep. at 5.) Among those individuals who do

develop liver disease, the disease progresses slowly over the course of decades. (Id. at 7;

Paulson Aff. ¶ 15.)

      D.      Screening For Hepatitis C.

      The U.S. Centers for Disease Control and Prevention (CDC) and the

U.S. Preventive Services Task Force (USPSTF) recommend HCV screening for persons

who are at a high risk of infection. (Kendig Rep. at 6-7; Kendig Dep. at 129-32; Paulson

Aff. ¶ 63.) Medical practitioners use a two-step process to determine whether a patient


2
 Hereinafter and unless otherwise stated, reference to HCV patients or inmates means
only those individuals who have chronic HCV infection, not the 25-30% of individuals
whose bodies have eradicated the infection without treatment.

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has an active HCV infection. (Paulson Aff. ¶¶ 25-26, 68; Kendig Rep. at 6-7.) First, a

blood test determines whether the patient has the HCV antibody in his blood. (Paulson

Aff. ¶¶ 25, 68; DOC Deposition under Fed. R. Civ. P. 30(b)(6) (“DOC Dep.”), attached

to the Fodness Aff. as Ex. G at 15-16; Kendig Rep. at 6.) 3 Results of this HCV antibody

test are reported as “non-reactive,” “reactive,” or “inconclusive.” (Paulson Aff. ¶ 25.)

A patient with a “non-reactive” result does not have the HCV antibody in his or her

blood, indicating that he or she has never been infected with HCV. (Id.) A patient with a

“reactive” result has the HCV antibody in his or her blood. (Id.) Patients with a reactive

result either have an active infection or had an active infection at some time in the past

(i.e., the patient’s body eradicated the infection on its own or the patient was successfully

treated for HCV in the past). (Id.)

       Patients who test positive for the HCV antigen receive a second blood test called

an antigen or RNA test to determine whether the patient has an active HCV infection.

(Id. ¶¶ 26, 68; Kendig Rep. at 6-7.) Patients who are “HCV RNA positive” have an

active HCV infection. (Paulson Aff. ¶ 26.) Those who test “negative” do not have an

active infection, even if the result of the initial HCV antibody test was reactive. (Id.)

       E.     Medical Monitoring Of HCV Patients.

       If HCV infection progresses, it progresses slowly and can remain dormant for

many years. (Paulson Aff. ¶¶ 14, 15; Kendig Rep. at 7.) Progression is even slower in a

correctional setting where medical practitioners can control an inmate’s other medical

3
  Dr. Paulson testified as the DOC’s designated representative for the purposes of the
deposition of the DOC noticed by Plaintiffs under Fed. R. Civ. P. 30(b)(6).

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conditions and monitor an inmate’s medications. (Paulson Aff. ¶¶ 16, 17; see also

Kendig Dep. at 84-85.)        The correctional environment itself, which is free of

environmental toxins and prohibits the use of drugs and alcohol, also slows progression.

(Paulson Aff. ¶ 16; see also Kendig Dep. at 84-85.)

         One condition that may affect HCV patients is chronic liver disease, which

generally develops over the course of decades. (Paulson Aff. ¶ 18; Kendig Rep. at 7.)

The degree to which an HCV-infected patient’s liver has been affected by liver disease is

discussed in terms of fibrosis or accumulation of scar tissue in the liver. (Paulson Aff.

¶ 19; Kendig Rep. at 5, 7-8.) “Stage” refers to the amount of liver scarring. (Paulson

Aff. ¶ 19.) Stages of fibrosis range from Stage 0 to Stage 4. (Id.) Stage 0 is absence of

fibrosis. (Id.) Stage 4 means a large amount of scarring, known as cirrhosis of the liver.

(Id.)

         A number of non-invasive tests assist medical practitioners in estimating the

degree of fibrosis in a patient’s liver, and in determining the timing of HCV treatment in

the early stages of liver disease. (Id. ¶ 20; Kendig Rep. at 8; Kendig Dep. at 81-82; 147-

49.) These tests include the AST-Platelet Ratio Index (APRI) and Fibrosis-4 (FIB-4)

index, which are calculated using blood test results. (Paulson Aff. ¶ 21; Kendig Rep. at

8.)




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      F.     Hepatitis C: Screening And Treatment At The Minnesota Department
             of Corrections.

             1.       Development Of DOC Guidelines For Screening And Treatment
                      Of HCV.

      The DOC has had HCV treatment guidelines since at least 1999. (Paulson Aff.

¶ 28.) Since then, the DOC’s HCV treatment guidelines have had multiple iterations and

have been subject to substantial review and revision based on a collaborative, evidence-

based approach. (Id. ¶¶ 43-55 (describing revisions).) The guidelines, and the DOC’s

practices with respect to screening for and treatment of HCV, have been revised with the

advent of different FDA-approved HCV treatments and as new research has refined the

medical community’s understanding of HCV and liver disease. (Id.)

      Treatment of HCV has been revolutionized over the last three years. (Paulson Aff.

¶ 42; Kendig Rep. at 8.) Previous HCV treatments involving pegylated interferon and

ribavirin, which often took nearly a full year of treatment, have been phased out with the

advent of a class of drugs referred to as direct-acting antivirals (DAAs). (Paulson Aff.

¶ 31; see also id. ¶ 39 (discussing the use of pegylated interferon and ribavirin for the

treatment of HCV).)

                      a.   The DOC’s April 2015 HCV Treatment Guidelines.

      In response to the new crop of DAAs, the DOC amended its treatment guidelines

in April 2015 (hereinafter “2015 Guidelines”). (Id. ¶¶ 44-47; see also 2015 Guidelines,

attached to the Paulson Aff. as Ex. B.) In drafting the 2015 Guidelines, Dr. Paulson

consulted multiple resources, including the Federal Bureau of Prisons’ Interim Guidance

for Management of Chronic Hepatitis C, the California Department of Corrections’

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HCV care guide, Centurion’s HCV guidelines, and the then-in-effect guidance published

by the American Association for the Study of Liver Disease (AASLD) and Infectious

Disease Society of America (IDSA). (Id.) At that time, the AASLD/IDSA guidance

recommended prioritization among HCV patients based on their medical status and

potential for liver-related complications. (Id. ¶ 52.) In accordance with these resources,

Dr. Paulson concluded that he would prioritize treatment of DOC inmates with evidence

of stage 3 and 4 liver fibrosis.     (See Paulson Aff. ¶ 55; 2015 Guidelines.)4        The

2015 Guidelines were in accordance with all of the HCV treatment and screening

guidelines from various state departments of corrections, the FBOP, and other institutions

with which Dr. Paulson was familiar. (Paulson Aff. ¶ 55.)

                     b.     The DOC’s January 2016 HCV Treatment Guidelines.

         In January 2016, Dr. Paulson drafted and the DOC adopted updated guidelines

(hereinafter “2016 Guidelines”). (See 2016 Guidelines, attached to the Paulson Aff. as

Ex. F; Paulson Aff. ¶ 56.)5 The 2016 Guidelines are designed “to provide guidance to

health services staff about screening and testing [inmates] . . . ; evaluating HCV infected

[inmates] for treatment with antiviral agents; and monitoring the condition of HCV

infected [inmates] during and after treatment.”      (2016 Guidelines at 1.)     Like the

2015 Guidelines, the 2016 Guidelines were informed by treatment recommendations by

nationally recognized authorities, including the AASLD/IDSA, FBOP, and California

Department of Corrections. (Paulson Aff. ¶ 56; see also 2016 Guidelines at 1; Kendig

4
    See Paulson Aff. ¶ 19 (describing stages of liver disease).
5
    The Second Amended Complaint was filed in October 2015. (Doc. No. 42.)

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Rep. at 15-16 .) The 2016 Guidelines are informational only and are not a substitute for

evaluation of individual cases and patient-specific treatment decisions. (2016 Guidelines

at 1-3; Paulson Aff. ¶ 60.)

       The 2016 Guidelines’ provisions on screening and testing are in line with the

recommendations published by the CDC and the USPSTF, and consistent with the

practices of other state correctional facilities, the FBOP, and the larger county and local

jails across the country. (Kendig Dep. 69-71; Kendig Rep. at 11, 15; see also Paulson

Aff. ¶ 56.)

              2.     Implementation Of The DOC’s 2016 Guidelines.

                     a.       Screening.

       The DOC has trained and instructed its staff members to follow the DOC’s

2016 Guidelines for screening inmates for HCV on intake, to explain the HCV risk

factors, recommend that inmates request blood testing if they have any of the risk factors,

provide education information on transmission, and explain procedures for requesting a

blood test. (Paulson Aff. ¶¶ 63, 64; 2016 Guidelines at 1.) If an inmate identifies any

one of the CDC-recognized risk factors, DOC staff members strongly encourage the

inmate to consent to an HCV test. (Paulson Aff. ¶ 65.) Inmates can also request an

HCV test during their incarceration, or testing may be offered by an inmate’s medical

practitioner. (Id. ¶ 69.) When inmates report a potential exposure to a blood-borne

pathogen, they are also provided with the option of a test for HCV and other blood-borne

pathogens. (Id. ¶ 69.)



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                      b.     Monitoring And Treatment.

       Upon diagnosis with an active HCV infection, DOC inmates are scheduled for an

initial evaluation with an on-site medical practitioner. (Id. ¶ 71.) Dr. Paulson has

directed on-site medical practitioners to forward laboratory test results from the initial

evaluation and any other clinically significant information to him at the DOC Central

Office. (Id. at ¶ 74.) Based on the laboratory test results, Dr. Paulson calculates each

inmate’s FIB-4 and APRI scores, considers any other information he has received, and

uses his medical judgment to identify those with an immediate medical need for HCV

treatment. (Id. ¶¶ 74-77.)

       For inmates without an immediate need, Dr. Paulson assigns each inmate a

treatment priority level based on his medical judgment. (Id. at ¶¶ 75-76.) These inmates

are informed that they should follow-up with the on-site medical practitioner every

six months. (Id. at ¶ 79.) Dr. Paulson has repeatedly expressed to on-site medical

practitioners that information from such follow-up appointments and any other clinically

significant information must be sent to his attention at the DOC Central Office. (Id.

at ¶¶ 73, 80.) After each follow-up appointment, Dr. Paulson evaluates each inmate’s

medical information, FIB-4 and APRI scores, and any other clinically significant medical

information to establish an updated priority level. (Id. ¶ 80.)

       G.     Cost.

       On a percentage basis, correctional systems have a much larger number of patients

who are potential candidates for HCV treatment than any other large health care system

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in the United States. (Kendig Rep. at 13.) The wholesale cost of DAAs for a 12-week

course of treatment ranges from $54,600 to $147,000 per patient. (Id. at 9.) This

presents an unprecedented challenge to correctional systems across the United States, and

data show that in many cases the cost of treating all inmates with HCV would eclipse

some correctional systems’ budgets by a factor of three. (Id.)

      Despite the fact that treatment is costly, the DOC has spent millions of dollars

treating inmates with DAAs. (Defendants’ Supp. Ans. Interr., attached to the Fodness

Aff. as Ex. H at 14.) From July 1, 2016 through March 6, 2017, the DOC had spent

$1,691,176.69 on DAAs, outpacing DAA spending for the entirety of the entire prior

fiscal year by a wide margin. (Larson Aff. ¶ 15.)

      H.




             1.     Ligons

      Ligons was incarcerated in 1993. (Pung Aff. ¶ 8.)

                                                                 While Ligons has been

housed at various facilities in the DOC, he is currently in prison at MCF-FRB. (Pung

Aff. ¶ 10.) Ligons is currently scheduled for supervised release into the community on

November 21, 2019. (Id.)




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             2.     Michaelson

      Michaelson was released from the DOC on March 27, 2017, and is serving his

sentence on supervised release in the community. (Pung Aff. ¶ 16.)




                                                           (Id. ¶ 134.)

                       SUMMARY JUDGMENT STANDARD

      Summary judgment is appropriate where there are no genuine issues of material

fact and the moving party can demonstrate that it is entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(a). “[S]ummary judgment procedure is properly regarded not as

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a disfavored procedural shortcut, but rather as an integral part of the Federal Rules as a

whole, which are designed to secure the just, speedy, and inexpensive determination of

every action.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986) (quotation and citation

omitted). A fact is material if it might affect the outcome of the suit, and a dispute is

genuine if the evidence is such that it could lead a reasonable jury to return a verdict for

either party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A court

considering a motion for summary judgment must view the facts in the light most

favorable to the non-moving party and give that party the benefit of all reasonable

inferences to be drawn from those facts. Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986).

                                LEGAL ARGUMENTS

I.     THE ELEVENTH AMENDMENT BARS CLAIMS FOR MONETARY DAMAGES
       AGAINST THE DOC AND ITS OFFICIALS IN THEIR OFFICIAL CAPACITIES AND
       AGAINST THE DOC FOR PROSPECTIVE INJUNCTIVE RELIEF.

       Plaintiffs Ligons and Michaelson assert Section 1983 claims against the DOC and

the Commissioner in his official capacity. (SAC ¶¶ 137-44 (Claim IV).) Plaintiffs Roe,

Miles, and Stiles purport to allege the same claims against the DOC and the

Commissioner, Larson, and Dr. Paulson, in their official capacities. (SAC ¶¶ 145-52

(Claim V).)6 To the extent that Plaintiffs seek monetary damages against the DOC and


6
  Although the Court mentioned the potential of a motion for class certification in its
Second Amended Briefing Order, Doc. No. 98, none has been noticed. (See generally
Docket.) To date, no class has been certified, and Plaintiffs John Roe, Jane Roe, John
Miles, Jane Miles, John Stiles, or Jane Stiles have never identified themselves, nor been
identified by Plaintiffs Ligons or Michaelson.

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its officials acting in their official capacities, Plaintiffs’ claims are barred by the Eleventh

Amendment.

       “The Eleventh Amendment immunizes an unconsenting State from damage

actions brought in federal court, except when Congress has abrogated that immunity for a

particular federal cause of action.” Hadley v. N. Ark. Cmty. Tech. Coll., 76 F.3d 1437,

1438 (8th Cir. 1996). Congress has not abrogated state immunity to Section 1983 claims

and Minnesota has not waived its immunity. Capers v. Ramsey Cty. Public Def., No. 13-

cv-1041 (PJS/JJG), 2014 WL 1048517, at * 4-5 (D. Minn. Mar. 18, 2014) (citations

omitted). States are also entitled to sovereign immunity from claims for prospective

injunctive relief under the Eleventh Amendment. Monroe v. Ark. State Univ., 495 F.3d

591, 594 (8th Cir. 2007) (state university is entitled to sovereign immunity and dismissal

from suit for monetary damages and prospective injunctive relief). While state officials

may be sued in their official capacities for prospective injunctive relief without violating

the Eleventh Amendment, the same doctrine does not extend to states or state agencies.

Id. (citations omitted). Accordingly, the DOC is immune under the Eleventh Amendment

from Plaintiffs’ claims and is entitled to summary judgment dismissing Claims IV and V.

       Plaintiffs’ claims for monetary damages are also barred against the Commissioner,

Dr. Paulson, and Larson in their official capacities. A claim against a state employee in

his or her official capacity is a claim against the state. Kentucky v. Graham, 473 U.S.

159, 165-66 (1985). State officials acting in their official capacities are not considered

“persons” who can be sued under Section 1983. Will v. Mich. Dep’t of State Police,

491 U.S. 58, 71 (1989); Murphy v. Arkansas, 127 F.3d 750, 754 (8th Cir. 1997).

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As such, claims against Dr. Paulson, Larson, and the Commissioner in their official

capacities should be dismissed to the extent that Plaintiffs seek monetary damages.

II.     DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFFS’
        SECTION 1983 CLAIMS BECAUSE PLAINTIFFS CANNOT ESTABLISH THAT THEIR
        EIGHTH AMENDMENT RIGHTS WERE VIOLATED.

        Plaintiffs sue Dr. Paulson and Larson in their individual capacities, alleging under

Section 1983 that their Eighth Amendment rights have been violated by the failure to

provide them with DAAs. (SAC ¶¶ 121-27 (Claim II).) Dr. Paulson is entitled to

summary judgment because his exercise of medical judgment in assessing each Plaintiff’s

respective medical condition did not violate Ligons or Michaelson’s Eighth Amendment

rights. Larson is entitled to summary judgment because she also did not make decisions

related to either Plaintiff’s HCV.     Dr. Paulson and Larson are entitled to summary

judgment on the alternative grounds that qualified immunity protects them from civil

liability.

        A.     Plaintiffs Cannot Meet The Demanding Burden To Establish A Claim
               Of Deliberate Indifference.

        The Eighth Amendment only protects prisoners from the “unnecessary and wanton

infliction of pain.” Estelle v. Gamble, 429 U.S. 97, 104-105 (1976). In the medical

context, a prisoner must establish that a prison official was deliberately indifferent to a

serious medical need to maintain a claim under Section 1983. See id. at 106. Society

does not expect prisoners to have unqualified access to health care. Hudson v. McMillan,

503 U.S. 1, 9 (1992) (quoting Estelle, 429 U.S. at 103-04). The Eighth Amendment does

not guarantee “medical care commensurate with that enjoyed by civilian populations.”


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Hines v. Anderson, 547 F.3d 915, 922 (8th Cir. 2008). Not “every claim by a prisoner

that he has not received adequate medical treatment states a violation of the Eighth

Amendment.”      Estelle, 429 U.S. at 105.      Deliberate indifference is “more than

negligence, more even than gross negligence, and mere disagreement with treatment

decisions does not rise to the level of a constitutional violation.” Fourte v. Faulkner

County, 746 F.3d 384, 387 (8th Cir. 2014) (quotations omitted).

      To survive summary judgment, a plaintiff must provide evidence on which a jury

could find that a defendant rendered medical care “so inappropriate as to evidence

intentional maltreatment.”   Jolly v. Knudsen, 205 F.3d 1094, 1096 (8th Cir. 2000)

(citations and quotations omitted). This demanding standard requires Plaintiffs to “prove

that [they] suffered from one or more objectively serious medical needs, and that []

officials actually knew of but deliberately disregarded those needs.”       Roberson v.

Bradshaw, 198 F.3d 645, 647 (8th Cir. 1999). To be actionable, the risk of harm created

by the official must be substantial. Farmer v. Brennan, 511 U.S. 825, 834 (1994).

Establishing deliberate indifference requires evidence both of “an objective element,

which asks whether the deprivation was sufficiently serious, and a subjective element,

which asks whether the defendant officials acted with a sufficiently culpable state of

mind.” Choate v. Lockhart, 7 F.3d 1370, 1374 (8th Cir. 1993).

      Prison doctors are not constrained from “exercising their independent medical

judgment” under the Eighth Amendment and inmates do not have a constitutional right to

any particular or requested course of treatment. Long v. Nix, 86 F.3d 761, 765 (8th Cir.

1996). An inmate cannot maintain a deliberate indifference claim as a matter of law

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where prison officials adopt a HCV treatment policy mirroring the FBOP policy,

prioritize antiviral treatment on the basis of lab results, and provide “regular care and

close monitoring of his Hepatitis C.” See Black v. Ala. Dept. of Corr., 578 Fed. App’x

794, 795-96 (11th Cir. 2014) (holding that prison officials are not deliberately indifferent

by monitoring a patient who is “stable” and prioritizing treatment based on “periodic

liver function and liver enzyme test results”). “As numerous courts have acknowledged,

HCV does not require treatment in all cases.” Smith v. Corizon, Inc., No. 15-743,

2015 WL 9274915, at *5 (D. Md. Dec. 17, 2015) (holding that physician’s determination

that inmate was not a priority candidate for treatment with Harvoni based on inmate’s

lack of symptoms was not deliberately indifferent); see also, e.g., Phelps v. Wexford

Health Sources, No. 16-2675, 2017 WL 528424, at *4 (D. Md. Feb. 8, 2017) (granting

summary judgment where inmate was monitored with blood panels and prison officials

evaluated lab results for treatment eligibility, reasoning that inmates are not entitled “to

Harvoni” or “the treatment of [] choice”).

       For example, in Fitch v. Blades, the court granted summary judgment in favor of

prison physicians who determined that an HCV-positive inmate was not an immediate

priority for treatment with Harvoni. No. 15-cv-00162, 2016 WL 8118192, at *7 (D. Ida.

Oct. 27, 2016), In concluding that the inmate did not have an immediate need for

treatment, prison physicians evaluated the inmate, concluded that he was “stable,” and

established a follow-up timeline. Id. The court held that the prison physicians’ exercise

of “deliberate, careful judgment about the course of [the inmate]’s treatment” evinced



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only a difference in medical judgment not giving rise to a deliberate indifference claim.

Id.

        Similarly, the court in Binford v. Kenney also granted summary judgment to prison

officials on an inmate’s deliberate indifference claim. No. 4:14-CV-5103, 2015 WL

6680272 (E.D. Wash. Nov. 2, 2015). There, prison officials did not provide an inmate

HCV treatment with DAAs because the inmate’s liver biopsy did not indicate stage 3 or

higher liver disease. Id. at *1. The court reasoned that “an inmate is not entitled to the

best or most expensive cutting-edge medical treatment.        Instead, inmates must be

provided medically acceptable treatment under the circumstances.” Id. at *4.

        To withstand summary judgment, Plaintiffs must establish more than mere

disagreement with a prison doctor.         See Velarde v. LeBlanc, No. 03-cv-2995

(PAM/SRN), 2004 WL 2271746, at *1 (D. Minn. Sept. 25, 2004) (holding that

disagreement between inmate and prison doctor as to whether HCV medication treatment

should have been stopped was a “medical malpractice claim at best” and did not give rise

to a claim for deliberate indifference under the Eighth Amendment). Courts routinely

dismiss inmates’ deliberate indifference claims when a prison doctor exercises medical

judgment regarding the treatment of HCV. See also, e.g., New v. Shelton, No. 2:12-cv-

1726, 2015 WL 4716020, at *5 (D. Or. Aug. 7, 2015) (holding that a prison doctor’s

decision not to prescribe telaprevir or Harvoni was based on reasonable medical

judgment and not deliberately indifferent); Hill v. Wexford Health Sources, Inc.,

No. 1:13-cv-544, 2015 WL 7864190, at *6-7 (S.D. Miss. Dec. 3, 2015) (holding that

prison doctor’s decision not to prescribe interferon treatment to inmate was based on

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medical judgment and was not deliberately indifferent); Emery v. Premo, No. 6:14-cv-

285, 2014 WL 5019898, at *3 (D. Ore. Sept. 30, 2014) (holding inmate not likely to

succeed on the merits with his deliberate indifference claim where prison medical

director made medical judgment that treatment with Sovaldi is not appropriate for

inmates who with Stage 2 fibrosis); Harrell v. Cal. Forensic Med. Grp., Inc., No. 2:15-

cv-579, 2015 WL 6706587, at *2 (E.D. Cal. Nov. 3, 2015) (dismissing suit against prison

doctor who decided not to treat inmate with Harvoni based on state correctional

department’s protocol and policies for HCV treatment where inmate had FIB-4 score of

1.18); Ross v. Kelso, No. 2:14-cv-2533, 2016 WL 123052, at *3 (E.D. Cal. Jan. 11, 2016)

(holding that a prison doctors’ decision not to prescribe Sovaldi due to concerns

regarding inmate’s blood platelet levels was not deliberately indifferent).

       B.     Dr. Paulson Is Entitled To Summary Judgment Because His Exercise
              Of Evidence-Based Medical Judgment In Assessing Each Plaintiff’s
              Medical Condition Was Not Deliberately Indifferent.

       Based on the record before the Court, Plaintiffs cannot establish a genuine issue of

material fact demonstrating that Dr. Paulson’s assessment of Plaintiffs’ respective

medical conditions was deliberately indifferent. To the contrary, the record demonstrates

that Dr. Paulson exercised independent medical judgment, rooted in evidence-based

medicine, to make medical decisions about whether and how to treat Plaintiffs’ HCV.7


7

                                                                           . See Cullor v.
Baldwin, 830 F.3d 830, 837 (8th Cir. 2016) (holding that claims of deliberate indifference
related to the delay in medical treatment require the inmate to “place verifying medical
evidence in the record to establish the detrimental effect of delay in medical treatment”)
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       Dr. Paulson testified that he completes a detailed evaluation of each inmate’s

medical condition, directs on-site medical practitioners to monitor HCV-infected

inmates’ medical status, and orders the on-site practitioners to send him test results and

other salient medical information. (Paulson Aff. ¶¶ 71-75, 80.) Using this information,

Dr. Paulson calculates FIB-4 and APRI scores for inmates,

             and prioritizes those with advanced liver disease for immediate treatment.

(Id. ¶¶ 75-77.) By applying the 2016 Guidelines and Dr. Paulson’s medical judgment,

the DOC has treated 77 inmates with DAAs, and has treated, or is treating, all inmates

known to have stage 3 or 4 fibrosis. (Id. at ¶¶ 85-86; see also Larson Aff. ¶ 14.)

Dr. Paulson is now in the process of reviewing HCV cases to treat inmates with stage 2

fibrosis, in accordance with the 2016 Guidelines and mirroring the practice of the FBOP.

(Paulson Aff. ¶ 86.)

       Plaintiffs allege that Dr. Paulson’s decision not to immediately treat them with

DAAs deviates from the applicable medical standard of care. Even if Plaintiffs could

prove this, it does not satisfy the deliberate indifference standard. “[A] complaint that a

physician has been negligent in diagnosing or treating a medical condition does not state

a valid claim of medical mistreatment under the Eighth Amendment.                 Medical

malpractice does not become a constitutional violation merely because the victim is a

_________________________________
(Footnote Continued from Previous Page)
(quoting Laughlin v. Schriro, 430 F.3d 927, 928 (8th Cir. 2005) (affirming summary
judgment in favor of state prison officials where inmate failed to put any medical
evidence into record to establish that delay in treatment had a detrimental effect)).
(See also infra at Part III.B (discussing lack of causation evidence).)

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prisoner.” Estelle, 429 U.S. at 106; see also Thompson v. King, 730 F.3d 742, 747

(8th Cir. 2013) (deliberate indifference “requires a showing more than negligence, more

even than gross negligence”) (quotations and internal citation omitted); Dulany, 132 F.3d

at 1239 (“Mere negligence or medical malpractice, however, are insufficient to rise to a

constitutional violation.”).

       Plaintiffs’ experts assert that the community standard of care for the treatment of

HCV requires immediate treatment without regard to anything other than the fact that an

individual has HCV. (See generally Declaration of Julie A. Thompson, M.D. (Thompson

(“Thompson Rep.”) (Doc. No 79); Affidavit of Martin E. Gordon, M.D. (“Gordon Rep.”)

(Doc. No. 37); Affidavit of Bennett D. Cecil, III, M.D. (“Cecil Rep.”) (Doc. No. 36).)

However, Dr. Paulson and Dr. Newton Kendig, former Medical Director of the FBOP,

identify the standard for treating HCV in a correctional setting. (See generally Kendig

Rep.; Paulson Aff. ¶¶ 46-54, 88.) This standard is rooted in evidence-based medicine.

While the disagreement among medical experts may be probative in a tort case, it is

insufficient to establish an Eighth Amendment violation. See Fourte, 746 F.3d at 389.

       Plaintiffs also allege that Dr. Paulson’s judgment is based on cost, which

Dr. Paulson denies. Consideration of the costs and benefits of the particular treatment –

including financial costs – does not render his treatment decisions deliberately indifferent

under the Eighth Amendment. Federal courts have held that the cost of treatment is a

legitimate consideration in medical treatment decisions. See Cramer v. Iverson, Civil

No. 07-725 (DWF/SRN), 2008 WL 4838715, at *5 n.8 (D. Minn. Nov. 5, 2008)

(rejecting plaintiff’s argument that the cost of treatment is not a valid basis for denying

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treatment under the Eighth Amendment) (citing Dulany v. Carnahan, 132 F.3d 1234,

1239 (8th Cir. 1997)); see also Reynolds v. Wagner, 128 F.3d 166, 175 (3d Cir. 1997)

(holding that “the deliberate indifference standard . . . does not guarantee prisoners the

right to be entirely free from the cost considerations that figure in the medical-care

decisions made by most non-prisoners in our society”); Binford, 2015 WL 6680272, at *4

(holding that “an individual defendant may consider resources in determining a course of

action.”). Plaintiffs can proffer no evidence supporting the contention that Dr. Paulson’s

treatment decisions were based on cost or administrative convenience.

      There are no genuine issues of material fact that would demonstrate that

Dr. Paulson was deliberately indifferent to Plaintiffs’ medical condition.     The Court

should dismiss their Eighth Amendment claims against him.

      C.     Larson Had No Involvement In Evaluating Plaintiffs For Treatment
             Or Establishing Treatment Guidelines For Treatment Of HCV And Is
             Therefore Entitled To Summary Judgment.

      Non-medical staff cannot be liable for the decisions made by medical staff.

See Drake v. Koss, 445 F.3d 1038, 1042 (8th Cir. 2006) (stating that “it is not deliberate

indifference when an official relies on the recommendations of a trained professional”);

Davis v. Superintendent Somerset SCI, 597 Fed. App’x 42, 45-46 (3d Cir. 2015)

(rejecting claim that non-medical personnel violated a prisoner’s constitutional rights by

failing to respond to complaints about the sufficiency of medical treatment). “The law

does not clearly require an administrator with less medical training to second-guess or

disregard” medical practitioners’ treatment decisions. See Meloy v. Bachmeier, 302 F.3d

845, 849 (8th Cir. 2002).

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       The record is undisputed that Larson is an administrator and does not have any

direct responsibility for the provision of medical care. (Larson Aff. ¶ 2; Larson Dep.

At 19.) On the contrary, Larson’s duties include program and contract administration,

and her role is akin to that of a hospital administrator. (Larson Aff. ¶¶ 2-3.) Because

Plaintiffs cannot establish that Larson was personally involved in any alleged deprivation

of medical care, she is entitled to summary judgment. See Niewind v. Smith, No. 14-cv-

4744 (DWF/HB), 2016 WL 3960356, at *11 (D. Minn. May 24, 2016) (granting

summary judgment on Section 1983 claim in favor of Larson where she was not

personally involved and deferred to licensed medical providers, including Centurion

doctors).

       Plaintiffs do not even allege a claim against Larson based on her supervisor-

supervisee relationship with Dr. Paulson, but even if they had, such claim would fail as a

matter of law. Section 1983 does not create a cause of action for supervisory liability.

Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009); see also Mayorga v. Missouri, 442 F.3d

1128, 1132 (8th Cir. 2006) (holding that “[l]iability under section 1983 requires a causal

link to, and direct responsibility for, the deprivation of rights” (internal quotations and

citations omitted)).   “In the section 1983 context, supervisor liability is limited.

A supervisor cannot be held liable, on a theory of respondeat superior, for an employee's

unconstitutional actions.” Boyd v. Knox, 47 F.3d 966, 968 (8th Cir. 1995).

       There are no genuine issues of material fact that would demonstrate that Larson

was responsible for medical decisions and thus she was not deliberately indifferent to



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Plaintiffs’ medical conditions. The Court should dismiss Plaintiffs’ Eighth Amendment

claims against her.

III.     DR. PAULSON AND LARSON ARE ENTITLED TO QUALIFIED IMMUNITY.

         Qualified immunity protects government officials from liability for civil damages

so long as his or her conduct violates the “clearly established statutory or constitutional

rights of which a reasonable person would have known.” Pearson v. Callahan, 555 U.S.

223, 231 (2009) (quotation omitted). “Qualified immunity gives government officials

breathing room to make reasonable but mistaken judgments about open legal questions.”

Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011). “In other words, immunity protects ‘all

but the plainly incompetent or those who knowingly violate the law.’” White v. Pauly,

___ U.S. ___, ___, 137 S. Ct. 548, 551 (2017) (quoting Mullenix v. Luna, 577 U.S. ___,

___, 136 S. Ct. 305, 308 (2015)).

         To defeat a claim of qualified immunity, a plaintiff must present sufficient facts to

establish that: (1) the official’s conduct violated a constitutional right and (2) that the

constitutional right was clearly established. Pearson, 555 U.S. at 232. “Unless both of

these questions is answered affirmatively, [a government official] is entitled to qualified

immunity.” Nord v. Walsh County, 757 F.3d 734, 738 (8th Cir. 2014). Plaintiffs cannot

meet either step. As to the first step, Plaintiffs cannot establish that their constitutional

rights were violated. (See supra Part II.)

         With respect to the second step, Plaintiffs must prove that the right was clearly

established at the time of the alleged misconduct. Pearson, 555 U.S. at 232. “The

contours of the right must be sufficiently clear that a reasonable official would
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understand that what he is doing violates that right.” Anderson v. Creighton, 483 U.S.

635, 640 (1987). The United States Supreme Court explained “decades ago, [that] the

clearly established law must be ‘particularized’ to the facts of the case.” White, ___ U.S.

at ___, 137 S. Ct. at 552 (citing Anderson, 483 U.S. at 640) (reversing denial of qualified

immunity on summary judgment where the district court “failed to identify a case where

an officer acting under similar circumstances . . . was held to have violated” an

individual’s rights)).

       Binding precedent “must have placed the statutory or constitutional question

beyond debate.” Stanton v. Sims, 571 U.S. ___, ___, 134 S. Ct. 3, 5 (2013). “[T]he

question is whether, in light of precedent existing at the time, [the official was] ‘plainly

incompetent’” in executing his or her duties.” Id.; see also Anderson, 483 U.S. at 639-41.

The court may “not . . . define clearly established law at a high level of generality.”

Mullenix, ___ U.S. at ___, 136 S. Ct. at 308. Rather, a court must assess the law within

the specific context of the case. Id. at ___, 136 S. Ct. at 309-11 (reversing denial of

qualified immunity on summary judgment where “hazy legal backdrop” did not put

officer on notice that he could not shoot a fleeing suspect in the back).

       Summary judgment is a particularly important procedural mechanism in cases

where government actors assert qualified immunity from suit. See Katosang v. Wasson-

Hunt, 392 Fed. App’x 511, 513-14 (8th Cir. 2010). Qualified immunity “is an immunity

from suit rather than a mere defense to liability [and] it is effectively lost if a case is

erroneously permitted to go to trial.” Handt v. Lynch, 681 F.3d 939, 943 (8th Cir. 2012)



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(quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). Because neither Dr. Paulson nor

Larson violated clearly established law, they are entitled to qualified immunity.

       A.     Dr. Paulson Is Entitled To Qualified Immunity For His Treatment
              Decisions.

       Dr. Paulson’s decision to prioritize HCV treatment is not contrary to any clearly

established law. There is no Eighth Circuit precedent that would put Dr. Paulson on

notice that such medical treatment decisions violate the Eighth Amendment. See Wilson

v. Layne, 526 U.S. 603, 617 (1999) (holding that a plaintiff must show “cases of

controlling authority in [the] jurisdiction at the time of the incident which clearly

established the rule . . . [or] a consensus of cases of persuasive authority”); White, ___

U.S. at ___, 137 S. Ct. at 552 (holding that the law must be “‘particularized’ to the facts

of the case” to constitute a clearly established right).

       To the contrary, as discussed supra at Part II.A, federal courts have widely held

that a medical decision not to treat a prisoner’s HCV with new DAAs does not constitute

deliberate indifference to a serious medical need under the Eighth Amendment.

The federal district court in Maskelunas v. Wexford Health Source, Inc., No. 2:14-cv-369,

2015 WL 6686709 (W.D. Pa. Oct. 8, 2015) reached this same conclusion. The court held

that state corrections officials were protected by qualified immunity where they had

refused to provide an inmate with new medications for HCV, including Harvoni and

Sovaldi. Id. at *3. The court reasoned that “[q]uite simply, when the treatment protocols

for a serious condition . . . are in flux, it is impossible for a medical care provider to know

what the ‘contours’. . . of an inmate’s rights are.” Id. See also Fourte, 746 F.3d at 389


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(holding that prison doctor had qualified immunity from deliberate indifference claim

where the plaintiff produced two expert witnesses who disagreed with the doctor’s

protocol). The Court should dismiss all claims against him in his individual capacity.

       The record is undisputed that HCV treatment protocols have been rapidly

changing as new medications have come to market. (Kendig Rep. 8; Paulson Aff. ¶¶ 49,

62; Thompson Dep. at 70-71 (stating that in private practice patients were being

“warehoused” for treatment as new drugs became available and that those who were

“warehoused” have not all been contacted for follow up).) Given these changes in the

medical treatment for HCV, Plaintiffs cannot show that Dr. Paulson would reasonably

have understood that the decision                                                  constituted

deliberate indifference.

       Despite this volatility, Dr. Paulson has tailored the DOC’s HCV treatment

guidelines to mirror those established by the FBOP and has set treatment guidelines

either in line with the HCV treatment provided by other state departments of corrections.

(Paulson Aff. ¶¶ 57-58; Kendig Rep. 11, 15-16; Kendig Dep. at 69-71.) Because there is

no precedent that would have informed Dr. Paulson that his approach

                           violated their rights, he is entitled to qualified immunity on their

Section 1983 claims.

       B.     Larson Is Entitled To Qualified Immunity For Her Administrative
              Role.

       Larson is protected by qualified immunity for the same reasons that Dr. Paulson is

entitled to qualified immunity, but is entitled to qualified immunity for the additional


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reason that she reasonably relied on Dr. Paulson’s medical judgment and expertise in

overseeing the establishment of treatment guidelines for HCV. See Meloy, 302 F.3d

at 849 (holding that a prison official was entitled to qualified immunity where she did not

deny a patient access to medical practitioners and the law did not require “an

administrator with less medical training to second-guess or disregard a treating

physician’s treatment decision”).

        Larson is also entitled to qualified immunity to the extent that Plaintiffs allege that

she failed to intervene in their medical treatment. See Josey v. Beard, C.A. No. 06-265,

2009 WL 1858250, at *6-7 (W.D. Pa. June 29, 2009) (holding that a Health Services

Administrator was entitled to qualified immunity where, without passing on the

constitutionality of a HCV protocol, it would not be apparent to a Health Services

Administrator without medical training that the protocol was unconstitutional). Because

Larson has qualified immunity from suit, the Court should dismiss all claims against her

in her individual capacity.

IV.     PLAINTIFFS’ CLAIMS UNDER THE REHABILITATION ACT AND AMERICANS
        WITH DISABILITIES ACT FAIL AS A MATTER OF LAW.

        Plaintiffs allege that the DOC and the Commissioner violated the Rehabilitation

Act, 29 U.S.C. § 794, and the Americans with Disabilities Act (“ADA”), 42 U.S.C.

§ 12131, et seq., by not “reasonably accommodating” their “disabilities” by providing

medical treatment of HCV with DAAs.             (SAC ¶¶ 169, 179.)       Because neither the

Rehabilitation Act nor the ADA provide a mechanism by which an individual can

challenge medical care, these claims fail as a matter of law.


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      Neither the Rehabilitation Act nor the ADA provide a federal cause of action to

challenge medical treatment. See Shelton v. Ark. Dep’t of Human Servs., 677 F.3d 837,

843 (8th Cir. 2012) (“The district court correctly held that a claim based upon improper

medical treatment decision may not be brought pursuant to either the ADA or the

Rehabilitation Act.”); Burger v. Bloomberg, 418 F.3d 882, 883 (8th Cir. 2005) (holding

that a lawsuit under the Rehabilitation Act or the ADA cannot be based on medical

treatment decisions.); Maxwell v. Olmsted County, No. CIV. 10-3668 (MJD/AJB),

2012 WL 466179, at *6 (D. Minn. Feb. 13, 2012) (dismissing claim that the county

violated Title II of the ADA by failing to provide pain medications and PTSD treatment).

      Claims premised on a challenge to medical treatment are contrary to the plain

purpose of the respective acts and cannot survive summary judgment. See Johnson v.

Thompson, 971 F.2d 1487, 1493-94 (10th Cir. 1992), cert. denied, 407 U.S. 910 (1993)

(holding that medical treatment decisions cannot form the basis of a claim under the

Rehabilitation Act “without distorting [the] plain meaning” of the Act’s terms); Holloway

v. Corr. Med. Servs., No. 4:06-cv-1235, 2010 WL 908491, at *14-15 (E.D. Mo. Mar. 9,

2010) (rejecting inmate’s ADA claim based on denial of HCV treatment) (citations

omitted); Redding v. Hanlon, No. CIV 06-4575 (DWF/RLE), 2008 WL 762078, at *16

(D. Minn. Mar. 19, 2008) (holding that a prison official’s alleged interference with

medical treatment does not constitute denial of access to any “services, programs, or

activities” and thus does not establish a claim under the ADA).

      Plaintiffs’ claims under the Rehabilitation Act and the ADA, like their

Section 1983 claims, are based solely on medical treatment decisions. (See generally

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SAC ¶¶ 164-184; see also Deposition of Barry Michaelson (“Michaelson Dep.”),

attached to the Fodness Aff. as Ex. I at 150 (stating that

                               ).) Because claims relating to medical treatment decisions

cannot form the basis for a claim under the Rehabilitation Act or the ADA, Defendants’

motion for summary judgment should be granted as to Claims VII and VIII.

V.     PLAINTIFFS ARE NOT ENTITLED TO THE RELIEF THEY SEEK.

       A.     Plaintiffs’ Claim For Permanent Injunctive Relief Fails As A Matter
              Of Law.

       Plaintiffs seek wide-ranging injunctive relief on behalf of themselves and

unnamed others.8     (SAC at 58-60.)      Their requested injunctive relief is moot and

prohibited by the Prison Litigation Reform Act (hereinafter “PLRA”).

              1.     Plaintiffs Cannot Meet The Standard To Obtain A Permanent
                     Injunction Because Their Claims Are Moot.

       When deciding whether a party is entitled to permanent injunctive relief, a court

must consider: (1) the threat of irreparable harm to the movant; (2) the balance between

this harm and the harm to the nonmoving party should the injunction issue; (3) actual

success on the merits; and (4) the public interest in the issuance of the injunction.

See Randolph v. Rogers, 170 F.3d 850, 857 (8th Cir. 1999) (citing Amoco Prod. Co. v.

Village of Gambell, 480 U.S. 531, 546 n.12 (1987)). Because the government “has

traditionally been granted the widest latitude in the dispatch of its own internal affairs,” a


8
  Defendants intend to respond fully to Plaintiffs’ anticipated motion for a preliminary
injunction, but briefly address the issue here because the injunctive relief requested in
Plaintiffs’ Second Amended Complaint fails as a matter of law.

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plaintiff must present facts showing a threat of immediate, irreparable harm before a

federal court will intervene. Midgett v. Tri-Cty. Metro. Transp. Dist. of Or., 254 F.3d

846, 850-51 (9th Cir. 2001) (citing Rizzo v. Goode, 423 U.S. 362, 378-79 (1976)).

Injunctive relief “is unavailable absent a showing of irreparable injury, a requirement that

cannot be met where there is no showing of any real or immediate threat that the plaintiff

will be wronged . . . .” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983).

       In addition to the fact that Plaintiffs cannot actually succeed on the merits, supra

at Part II, their claims for injunctive relief also fail because they are moot. (See SAC

¶ 5.) In their request for relief, Ligons and Michaelson ask the Court to order “immediate

commencement of the one pill per day, twelve week hepatitis C treatment in accordance

with the June 20, 2015 AASLD/IDSA standard of care, WITHOUT first requiring

plaintiffs to undergo chemical dependency treatment.”          (SAC at 59 (emphasis in

original).)




       Michaelson’s                                                                    been

released from prison, and he cannot demonstrate a threat of irreparable harm as a matter

of law. See id.; see also Meuir v. Greene Cty. Jail Emps., 487 F.3d 1115, 1119 (8th Cir.

2007) (holding that an inmate did not have standing to challenge a prison policy when he

had transferred from the prison); Smith v. Hundley, 190 F.3d 852, 855 (8th Cir. 1999)

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(holding that the future prospect of a plaintiff being sent back to complained-about

facility is insufficient to maintain a justiciable controversy); Hickman v. Missouri.,

144 F.3d 1141, 1142 (8th Cir. 1998) (holding that parole release mooted former inmate’s

equitable claims); see also Roblero-Barrios v. Ludeman, No. 07-4101 (MJD/FLN),

2008 WL 4838726, at *10 (D. Minn. Nov. 5, 2008) (holding claims for equitable and

injunctive relief are moot when the plaintiff is no longer subject to conditions of

confinement of which he complains). Because neither Ligons nor Michaelson can carry

their burden of establishing the requisite threat of immediate irreparable harm, their

claims for injunctive relief are not justiciable and fail as a matter of law.

              2.      Plaintiffs’ Claim For Injunctive Relief Is Barred By The Prison
                      Litigation Reform Act.

       The Prison Litigation Reform Act (“PLRA”) limits the injunctive relief a court

may order in a case brought by an inmate alleging that prison conditions violate federal

law. See 18 U.S.C. § 3626; 42 U.S.C. § 1997e; see also Miller v. French, 530 U.S. 327,

333 (2000). The PLRA provides that “prospective relief in any civil action with respect

to prison conditions shall extend no further than necessary to correct the violation of the

Federal right of a particular plaintiff or plaintiffs.” 18 U.S.C. § 3626(a)(1)(A). A court

may only grant prospective relief if the court finds “that such relief is narrowly drawn,

extends no further than necessary to correct the violation of the Federal right, and is the

least intrusive means necessary to correct the violation of the Federal right.” Id. The

scope of the remedy must be proportional to the scope of the violation and the order must

not unnecessarily reach out to improve prison conditions other than those that violate


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federal law. Hines, 547 F.3d at 921-22 (holding that failure to narrowly tailor injunctive

relief to make it “the least intrusive means” of curing an Eighth Amendment violation

was “a separate and independent basis on which to terminate” consent decree under the

PLRA). The court must also give substantial weight to any adverse impact on public

safety caused by the relief ordered. 18 U.S.C. § 3626(a)(1)(A).

       Plaintiffs ask the Court to order the DOC not to engage in a variety of conduct the

DOC is not engaging in, for example, “perpetuation” of an alleged protocol that does not

exist and would not apply to either of them if it did exist. (SAC 58-59.) They also want

the Court to order treatment for a wide variety of other inmates, in accordance with the

June 29, 2015 recommendations of the AASLD/IDSA. (SAC 59.) Plaintiffs’ requested

injunctive relief, even if they somehow had standing to request such relief, is clearly

prohibited under PLRA’s mandate that prospective relief extend no further than

necessary to correct a federal constitutional right of a particular plaintiff or plaintiffs.

It is overbroad in that it seeks treatment for inmates who would not be able to establish an

Eighth Amendment violation; would require the Court to substitute its judgment for that

of a medical doctor;9 and it is not limited to a particular plaintiff or plaintiffs.




9
  Presumably, Plaintiffs would want the Court to follow the current AASLD/IDSA
recommendations. The current recommendations in a 229-pages report that can be
accessed at http://hcvguidelines.org/sites/default/files/HCV-Guidance_October_2016_
a.pdf (last visited March 26, 2017).

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       B.     To The Extent That Plaintiffs’ Claims For Damages Are Not
              Foreclosed By Qualified Immunity Or The Eleventh Amendment,
              Their Claims Fail To The Extent That They Are Premised On Physical
              Injury From Alleged Delay In HCV Treatment.

       As part of their claims under Section 1983, the Rehabilitation Act, and the ADA,

Plaintiffs allege damages for “aggravated or exacerbated serious medical harms,

including liver malfunction, liver fibrosis, liver cirrhosis, liver cancer, expensive liver

transplant, or even death by liver malfunction,” see SAC ¶¶ 124, 170, 180, and for

“increased symptoms” and “decreased life expectancy,” see SAC ¶¶ 126, 143, 151.

Plaintiffs’ assertion of lasting or temporary physical injury as a result of any alleged

delay or deferral of treatment for HCV are completely unsupported by the record.

As such, Defendants are entitled to summary judgment to the extent that Plaintiffs’

claimed damages are based on physical injury allegedly caused by Defendants.

       The deadline to identify experts passed on September 21, 2016, see Order (Doc.

No. 43) at 2, and the deadline to submit expert reports passed on October 31, 2016,

see Order (Doc. No. 77) at 2. As of the date of the filing of this memorandum, Plaintiffs

have never served any expert reports or identified any experts to testify as to the degree

of physical injury they allege to have suffered as a result of alleged delay in

HCV treatment. None of Plaintiffs’ three disclosed experts have been identified for this

purpose. (See generally Thompson Rep.; Gordon Rep.; Cecil Rep.) There is no evidence

in the record, either by way of expert report or otherwise, explaining how Plaintiffs in

particular have been harmed by any alleged delay in treatment.




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      Absent expert testimony, Plaintiffs cannot put to the jury any evidence regarding

their “increased symptoms,” “decreased life expectancy,” or exacerbation of their

preexisting liver disease. See Brooks v. Union Pac. R. Co., 620 F.3d 896, 900 (8th Cir.

2010) (holding that in order to withstand summary judgment an injured plaintiff must

produce expert testimony not on only on his medical condition but also causation of the

alleged injury); see also Bland v. Verizon Wireless, (VAW) L.L.C., 538 F.3d 893, 899

(8th Cir. 2008) (holding that a plaintiff’s failure to make submit expert testimony on

causation required that summary judgment be granted in favor of the defendant).

      “When an injury is sophisticated, proof of causation generally must be established

by expert testimony.” Robinson v. Hager, 292 F.3d 560, 564 (8th Cir. 2002) (reversing

jury verdict in favor of inmate on Eighth Amendment claim where expert evidence did

not establish that failure to provide mediation caused injury).            An injury is

“sophisticated” where it requires “surgical intervention or other highly scientific

technique for diagnosis” because “proof of causation is not within the realm of lay

understanding and must be established by expert testimony.” Id. (quotation omitted).

Likewise, a plaintiff cannot establish a genuine issue of material fact on the issue of

physical injury where he fails to adduce any evidence of causation to separate preexisting

injury from that allegedly caused by a defendant. See Saunders v. Frost, 124 Fed. Appx.

468 (8th Cir. 2005) (affirming judgment as a matter of law in favor of defendant where

plaintiff failed to introduce expert testimony regarding knee injury where the plaintiff’s

“long medical history [was] marked by earlier traumas and an earlier surgery”).



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       Here, the record is insufficient to put the claim of lasting or temporary physical

injury to a jury.




                                                                   . Competent evidence

of causation is essential where, as here, the record is undisputed that liver disease is

generally slowly-progressing, taking two to three decades to advance, if at all.

(See Paulson Aff. ¶¶ 14-16 ; Kendig Dep. 80-81; Kendig Rep. 7; see also Thompson Dep.

43-44.) See also Robinson v. Hager, 292 F.3d 560, 564 (8th Cir. 2002) (holding that

causation can only be inferred where an individual has a sudden onset of injury or visible

injury).

       Third, there is no record evidence of how administration of HCV treatment at any

particular point in time would have prevented or ameliorated any lasting or temporary

physical injury. Absent expert medical testimony, Plaintiffs’ claims that Defendants

caused physical injury fail as a matter of law and their assertion of damages must

likewise fail.




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VI.     PLAINTIFFS’ CLAIMS FAIL AS A MATTER OF LAW AND MUST BE DISMISSED.

        Plaintiffs appear to allege facts regarding potential claims on behalf of others or

against unnamed others. These claims are unclear and inartfully pled. Any improperly

pled claims should be dismissed.

        A.     Unnamed Plaintiffs’ Screening Claims Fail As A Matter Of Law.

        In the Second Amended Complaint, Unnamed Plaintiffs Roe, Stiles, and Miles

allege a Section 1983 claim against the DOC and the Commissioner, in his official

capacity, based on the DOC’s screening process at intake and throughout their respective

incarcerations. (SAC ¶¶ 145-52 (Claim V).) These unidentified inmate plaintiffs appear

to allege that they do not have HCV and they may be exposed to HCV because some

other inmates have HCV. Plaintiffs Ligons and Michaelson do not allege screening

claims on behalf of themselves. (See id.) The screening claim fails as a matter of law.

               1.    Claim V Is Not Justiciable Because Plaintiffs Do Not Have
                     Standing To Litigate Claims On Behalf Of Unnamed Plaintiffs
                     Roe, Stiles, And Miles.

        First, Unnamed Plaintiffs cannot maintain a claim for prospective injunctive relief

because they are unidentified and there is no record evidence on which they could have

standing.    “Standing is an essential and unchanging part of the case-or-controversy

requirement of Article III.” Meuir, 487 F.3d at 1119 (citing Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992)) (internal punctuation omitted). Federal courts may only hear

cases and controversies. U.S. Const. art. III, § 2. This requires a plaintiff to “have

suffered, or be threatened with, an actual injury traceable to the defendant and likely to be



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redressed by a favorable judicial decision.” Spencer v. Kemna, 523 U.S. 1, 7 (1998)

(quotation omitted).

       Ligons and Michaelson do not purport to maintain the claim on Unnamed

Plaintiffs’ behalf, see SAC ¶¶ 145-52, nor are they entitled to do so. See Meuir, 487 F.3d

at 1119 (holding that an inmate did not have standing to challenge a prison policy when

he had transferred from the prison); Martin, 780 F.2d at 1337 (holding that an inmate

cannot bring claims on behalf of other inmates, rather he must establish a personal loss).

“Standing to seek injunctive relief requires a plaintiff, inter alia, to show a likelihood of

future injury.” Id. (citing Lyons, 461 U.S. at 111). A plaintiff lacks standing unless the

alleged injury-in-fact is “concrete” and “actual or imminent, not conjectural or

hypothetical.” Whitmore v. Arkansas, 495 U.S. 149, 155 (1990) (quotation omitted);

Martin, 780 F.2d at 1337.

       As explained supra Part VI(A)(1), neither Plaintiff can meet this standard because

they are not at imminent risk of injury-in-fact. In fact, in Dr. Paulson’s 22 years he has

never learned of an instance where HCV was transmitted from one inmate to another or

between staff and inmates. (Paulson Aff. ¶ 11.) And they are not alleging this claim on

behalf of themselves.

              2.       Claim V Fails On The Merits.

       Aside from the justiciability issues inherent in Unnamed Plaintiffs’ claim, it also

fails on the merits. The record is undisputed that HCV is not readily communicable and

therefore does not present a threat of substantial harm to the DOC’s inmates actionable

under Section 1983. See Nefferdorf v. Corr. Med. Servs., No. 04-cv-3411, 2009 WL

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1066017, at *4 (D.N.J. Apr. 21, 2009) (holding that “there is no general constitutional

duty to screen asymptomatic inmates for HCV” because HCV is “not the type of easily

communicable disease . . . which requires universal screening”) (citing Thomas v. Corr.

Med. Servs., No. 04-3358, 2009 WL 737105, at *7 (D.N.J. Mar. 17, 2009) (holding that

there was no constitutional duty to test inmates for HCV at intake)).

       B.     Any Other Claims Plaintiffs Purport To Bring Under The Second
              Amended Complaint Fail As A Matter Of Law.

       To the extent Plaintiffs purport to bring their own claims related to their conditions

of confinement unrelated to treatment for HCV, their claims are unsupported by the

undisputed record and fail as a matter of law. For example, Michaelson alleges that



                   (SAC ¶ 9; Plfs.’ Ans. to Interr., attached to the Fodness Aff. as Ex. I at

20-21.) To the extent that Michaelson intends to bring a discrete claim on the basis of

this allegation, neither Dr. Paulson nor Larson had any involvement in the alleged

situation and therefore do not have any liability. (See SAC ¶ 9; Plfs.’ Ans. to Interr.,

attached to the Fodness Aff. as Ex. J at 20-21 (



Michaelson Dep. at 42-44.)10 Neither Dr. Paulson nor Larson are even alleged to have

authority over prison guards or prison operations.


10
   The court should also sua sponte dismiss the claims against various Unnamed
Defendants John and Jane Does A-J because Plaintiffs have failed to identify them in the
course of reasonable discovery. See Phelps v. U.S. Fed. Gov’t, 15 F.3d 735, 738-39
(8th Cir. 1994).

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                                   CONCLUSION

      For all of these reasons, Defendants respectfully request that the Court grant their

motion for summary judgment and dismiss Plaintiffs’ claims with prejudice.


Dated: March 28, 2017                       Respectfully submitted,

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